Case No. 1:06-cv-01893-RPM-CBS Document 1-1 filed 09/22/06 USDC Golorado pgiof1

JS 44~-No. CALIF (Rev. 4/97)

The JS-44 civil cover sheet and the information contained herein neither re
by law, except as provided by local rules of court. This form, approved by
use of the Clerk of Court for the purpose of initiating the civil docket sheet. (

I.(a) PLAINTIFFS —

LEO REFUERZO

CIVIL COVER SHEET

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S. PLAINTIFF CASES)

City and County of Denver

DEFENDANTS

JASON GALLEGOS,
JAMES D. HINRICHS

place nor supplement the filing and service of pleadings or other papers as requ
the Judicial Conference of the United States in September 1974, is required for
SEE INSTRUCTIONS ON PAGE TWO)

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

NOTE:

IN LAND CONDEMNATION CASES Hier THE 1 NCATINN AE THE

TRACT OF LAND INVOLVED. City and County of Denver

{c) ATTORNEYS (FIRM NAME. ADDRESS. AND TELEPHONE NUMBER)
David A. Lane (Killmer, Lane & Newman,

1543 Chmapa St.; Suite 400

Denver, CO.80202

LLP) 303.571.1000

ATTORNEYS (IF KNOWN)

ll. BASIS OF JURISDICTION (pLace an’ *INONEBOX ONLY)

lll. CITIZENSHIP OF PRINCIPAL PARTIES etace an’ "INONEBOXFOR

PLAINTIFF

(111 U.S. Government 3 Federal Question (For diversity cases only) AND ONE BOX FOR DEFENDANT)
Plaintiff (U.S. Government Not a Party) PTF DEF PTF DI
(J 2 U.S. Government Citizen of This State O11 incorporated or Principal Place C4c
Defendant Ci4 Diversity of Business In This State
(Indicate Citizenship of Citizen of Another State 2 (12 Incorporated and Principal Place C15 (CF
Parties in Item III) of Business In Another State
Citizen or Subject of a C3 £43 Foreign Nation Cle £c
Foreign Country
IV. ORIGIN (PLACE AN '* "iN ONE BOX ONLY)
[411 Original [1 2 Removed from (71 3 Remanded from (Cl 4 Reinstated or (15 Transfered from 6 Multidistrict (117 Appeai to
Proceeding State Court Appellate Court Reopened Another district Litigation District Judge frorr
(specify) Magistrate Judgme
V. NATURE OF SUIT (PLACE AN" "IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
{7 110 insurance PERSONAL INJURY PERSONAL INJURY [J 610 Agriculture [-] 422 Appeal 28 USC 158 (J 400 State Reapportionment
(J 120 Marine (1310 Airplane [2] 362 Personal Injury {J 620 Other Food & Drug (21423 Withdrawal (Cl 410 Antitrust
J 130 Mitler Act (1315 Airplane Product Med Malpractice (C1 625 Drug Related Seizure of 28 USC 157 (2 430 Banks and Banking
( 140 Negotiable Instrument Liability (7) 365 Personal Injury Property 21 USC 881 [0 450 Commerce/CC Rates/
150 Recovery of Overpayment 71320 Assautt Libel & Product Liability (5 630 Liquor Laws PROPERTY RIGHTS [2] 460 Deportation
& Enforcement of Judgment Slander O aes ne se (F 640 RR & Truck " 5) 470 Racketeer Influenced ar
(CJ 154 Medicare Act 330 taba nyury Product Liability 7 650 Airline Regs Si ep mons Corupt Organizations
152 R of Defautted fab [2] 660 Occupational en 810 Selective Servi
(7) 152 Recovery 0 (1340 Marine PERSONAL PROPERTY Safety/Heath [1840 Trademark oO ive Servico
Student Loans (Exc! Veterans) . [71 370 Other Fraud () 850 Securities/Commoditie:
[5] 153 Recovery of Overpayment [71345 Marine Product er ra . Exchange
of Veteran's Benefits Liability [21 374 Truth in Lending LABOR SOCIAL SECURITY | (5 e7s customer Challenge
(C1 160 Stockholders Suits [1250 Motor Vehicle [7] 380 Other Personal 42USC 3410
[7 355 Motor Vehicle Property Damage ([] 710 Fair Labor Standards Act [7] 861 HIA {1395ff)
[Z] 190 Other Contract a (21 891 Agricultural Acts
eas Product Liabiltiy [7] 385 Property Damage 1720 Labor/Mgmt Relations (5) 862 Black Lung (923) ( sez ic Stabilizatio:
(1 195 Contract Product Liability ‘ Product Liability COnOMIC IZatOn
[1360 Other Personal Injury [21730 Labor/Mgmt Reporting & © [] 863 DIWC/DIWW (405(g)) Act
Disclosure Act () 864 SSID Title Xv! [2] 993 Environmental Matters
(21749 Railway Labor Act (1 865 RSI (405(g)) [7] 894 Energy Allocation Act
[1790 Other Labor Litigation [5] 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS §[[J791 Empl.Ret. Inc. Security FEDERAL TAX SUITS Act :
[2] 210 Land Condemnation [441 Voting [£] 510 Motion to Vacate Sentence Act [J 870 Taxes (US Plaintiff or [1 900 Appeal of Fee
[) 220 Foreclosure (2) 442 Employment Habeas Corpus: Defendant Determination Under
(2) 230 Rent Lease & Ejectment (21443 Housing [1 830 General (1 871 IRS - Third Party Equal feces oeste
(1 240 Torts to Land (1444 Welfare (71 835 Death Penalty 26 USC 7609 19% Santos prayers
(2) 245 Tort Product Liability 440 Other Civil Rights (J 540 Mandamus & Other .
+ at yt 890 Other Statutory Actions
2290 All Other Real Property (2) 550 Civil Rights oO er lory
[2] 555 Prison Condition

VI. CAUSE OF ACTION (CITE THE US CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE. DO NOT CIT

JURISDICTIONAL STATUTES UNLESS DIVERSITY)

§ 1983 Fourth Amendment Violation — Unlawful Search and Unlawful Seizure, § 1983

First Amendment Violation — Retaliation for Exercise of Free Speech,

Vil. REQUESTED IN
COMPLAINT:

LJ CHECK IF THIS IS ACLASS ACTION

UNDER F.R.C.P. 23

DEMAND $

(1 CHECK YES only if demanded in complaint:

JURY DEMAND:

HIiYES CINO

— ——_MIIL_RELATED CASE(S) IF ANY PLEASE REFER TO CIVII--R-312-CONCERNING REQUIREMENT TO FILE “NOTICE OF RELATED CASE”. .

g)2rloe

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